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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:11-CR-00514 TLN and 2:12-CR-
                                                          00118-TLN
12                                 Plaintiff,
                                                          STIPULATION RESETTING RESTITUTION
13                           v.                           HEARING AND WAIVING 90 DAY
                                                          REQUIREMENT; FINDINGS AND ORDER
14   KHADZHIMURAD BABTOV,
                                                          DATE: December 18, 2014
15                                 Defendants.            TIME: 9:30 a.m.
                                                          COURT: Hon. Troy L. Nunley
16

17                                                STIPULATION
18          1.       On October 30, 2014 at the conclusion of Judgment and Sentencing, this matter was set
19 for a restitution hearing on December 18, 2014.

20          2.       By this stipulation, the parties now move to continue the restitution hearing until January
21 29, 2015, at 9:30 a.m., and to waive the time 90 day time period required for the imposition of a

22 restitution order pursuant to 18 U.S.C. § 3664(d)(5).

23          3.       The parties agree and stipulate, and request that the Court find the following:
24                   a)     The initial restitution hearing was set well within the 90 day limit set out in 18
25          U.S.C. § 3664(d)(5).
26                   b)     Counsel for the United States has been attempting to finalize the amount of
27          restitution potentially owned and coordinate with Bank of America to confirm the actual loss
28          suffered as a result of the defendant’s conduct. The United States needs additional time to

      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      1
      ORDER
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 1         conclude its work on this subject.

 2                 c)      The defendant does not object to this continuance request and hereby waives the

 3         90 day time period for entry of a restitution order contemplated by 18 U.S.C. § 3664(d)(5) for

 4         the purpose of setting the restitution hearing on January 29, 2015. Defense counsel is

 5         unavailable to attend or participate in a restitution hearing until January 29, 2015, which is the

 6         ninety-first day following the entry of Judgment and Sentence. The defendant’s waiver of the 90

 7         day time period is effective for this continuance only.

 8         IT IS SO STIPULATED.

 9
     Dated: December 16, 2014                                BENJAMIN B. WAGNER
10                                                           United States Attorney
11
                                                             /s/ HEIKO P. COPPOLA
12                                                           HEIKO P. COPPOLA
                                                             Assistant United States Attorney
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14
     Dated: December 16, 2014                                /s/ John Duree
15                                                           JOHN DUREE
16                                                           Counsel for Defendant
                                                             KHADZHIMURAD BABOV
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18

19                                          FINDINGS AND ORDER

20         IT IS SO FOUND AND ORDERED this 16th day of December, 2014.

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24                                                                Troy L. Nunley
                                                                  United States District Judge
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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     2
      ORDER
